                                                                                                    4/4/2022 2:15 PM
          Case 3:22-cv-01150-M Document 1-2 Filed 05/25/22               Page 1 of 10 PageID 8        FELICIA PITRE
                                                                                                   DISTRICT CLERK
                                                                                                 DALLAS CO., TEXAS
2 CIT ESERVE                                                                                     Angie Avina DEPUTY

                                                       DC-22-03667
                                           CAUSE NO.


       RHONDA JEAN ARMSTER AND                          §            IN THE DISTRICT COURT OF
       D'AREA IGHO-OSAJIE                               §
           Plaiiztiff                                   §
                                                        §            162nd
       VS.                                              §                    JUDICIAL DISTRICT
                                                        §
       UNKNOWN DRIVER,                                  §
       AMAZON LOGISTICS INC., AND                       §
       WANAAG TRANSPORT INC.                            §
          Defenclant                                    §               DALLAS COUNTY, TEXAS


                                         PLAINTIFF'S ORIGINAL PETITION


       TO THE HONORABLE JUDGE OF SAID COURT:

                 Plaintiff, RHONDA JEAN ARMSTER AND D'AREA IGHO-OSAJIE ("Plaintiffs")

        complain of Defendants, UNKNOWN DRIVER, Ai~'IAZON LOGISTICS INC,, AND

       WANAAG TRAi~TSPORT INC., ("Defendants") and for cause of action would respectfully show

       the Court as follows:

                                                      i.
                                           DISCOVERY CONTROL PLAN

       1.        Plaintiff intends that discovery be conducted under LEVEL 3 of RULE 190 of the TEXAS

                 RULES OF CIVIL PROCEDURE._

                                                      II.
                                                    PARTIES

       2.        Plaintiff RHONDA JEAN ARMSTER is an individual resident of Texas.

       3.        Plaintiff D'AREA IGHO-OSAJIE is an individual resident of Texas

        4.       Defendant UNKNOWN DRIVER is an individual presumed to reside in Texas.




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5.        Defendant Ai1'IAZON LOGISTICS INC. is a corporation doing business in Texas and

          may be served with process through its registered agent, CORPORATION SERVICE

          COMPANY DBA CSC - LAWYERS INCORPORATED, who may be served at 211 E.

          7TH STREET, SUITE 620 AUSTIN, TX 78701 or wherever they rnay be found.

6.        Defendant WANAAG TRANSPORT INC. is a corporation doing business in Texas and

          may be served with process through its registered agent, Mohamed Mohamed, who may

          be served at 124 Hwy 13 E, Suite 304, Burnsville, MN 55337or wherever he may be found.

                                                  III.
                                         JURISDICTION & VENUE

7.        This Court has jurisdiction over the parties because the amount in controversy is within the

          jurisdictional limits of this Court. Additionally, this Court has jurisdiction over the parties

          because Defendants are Texas residents and/or do business in the State of Texas.

8.         Venue is proper in Dallas County in this cause pursuant to § 15.002(a)(l) of the CivII_

          PRACTtCE & REMEDIEs CODE because the incident which forms the basis of this lawsuit

          occurred in Dallas County, Texas.

9.        Venue is proper in Dallas County in this cause pursuant to § 15.002(a)(2) of the Civt[.

          PRACTICE & REMEDIES CODE because Plaintiffs RHONDA JEAN ARMSTER AND

          D'AREA IGHO-OSAJIE are residents of Dallas County, Texas.

                                                      IV.
                                                     FACTS

10.        On or about June 24, 2020, Plaintiff RHONDA JEAN ARMSTER was operating her

           vehicle in a lawful manner while traveling in Dallas County, Texas, with PlaintiffD'AREA

          IGHO-OSAJIE as a passenger, when her vehicle was suddenly, violently, and without

           warning stnick by Defendant UNKNOWN DRIVER, who was operating a tractor/trailer




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          owned or under the control of AMAZON LOGISTICS INC., AND WANAAG

          TRANSPORT INC.              As a result of the collision and the Defendant's negligence,

          RHONDA JEAN AItMSTER AND D'AREA IGHO-OSAJIE sustained injuries.

                                                   V.
                                        CAUSES OF ACTION AGAINST
                                       DEFENDANT UNICNOWN DRIVER

A.        NEGLIGENCE

11.       The occurrence made the basis of this suit, reflected in the above paragraphs, and the

          resulting injuries and damages of Plaintiff were proximately caused by the negligent

          conduct of the Defendant UNKNOWN DRIVER, who operated the vehicle they were

          driving in a negligent manner by violating the duty which they owed the Plaintiff to

          exercise ordinary care in the operation of their motor vehicle in one or more of the

          following respects:

                      a. failing to keep a proper lookout or such lookout, which a person of ordinary
                         prudence would have maintained under same or similar circumstances;

                      b. failing to timely apply the brakes of the vehicle in order to avoid the collision
                         in question;

                      c. operating his vehicle at a rate of speed that was greater than an ordiiiary
                         prudent person would have driven under of similar circumstances;

                      d. failing to turn the vehicle in an effort to avoid the collision in question; and

                      e. failing to inaintain her vehicle in proper working order.

12.       Each of these acts and/or omissions, whether taken singularly or in any combination

          constitutes negligence and negligence per se which proximately caused the collision and

          injuries and other losses as specifically set forth herein.

R.        NEGLIGEVCE PER SE




Plairrtiff.v' Oi-iginal Petitiol:                                                                Page 3 of 9
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13.       Further, pursuant to the negligence per se doctrine, Defendant failed to exercise the

          mandatory standard of care in violation of V.T.C.A. TRANSPORTATION CODE, §545.152,

          which mandates that:

          §545.351 MAXIMUM SPEED REQUIREMENT

                    (a) An operator may not drive at a speed greater than is reasonable and prudent
                        under the circumstances then existing.

                    (b) An operator:

                              (1) May not drive a vehicle at a speed greater than is reasonable and prudent
                                  under the conditions and having regard for actual and potential hazards
                                  then existing; and

                              (2) Shall control the speed of the vehicle as necessary to avoid colliding
                                  with another person or vehicle that is on or entering the highway in
                                  compliance with law and the duty of eacli person to use due care.

                    (c) An operator shall, consistent with Subsections (a) and (b), drive at an
                        appropriate reduced speed if:

                              (1) The operator is approaching aiid crossing an intersection or railroad
                                  grade crossing;

                              (2) The operator is approaching and going around a curve;

                              (3) The operator is approaching a hill crest;

                              (4) The operator is traveling on a narrow or winding roadway; and

                              (5) A special hazard exists with regard to traffic, including pedestrians, or
                                  weather or highway conditions.

14.       Each of these acts and/or omissions, whether taken singularly or in any combination

          constitute negligence and negligence per se wliich proximately caused the collision and

          injuries and otlier losses as specifically set forth herein.

                                      CAUSE OF ACTiON AGAINST
                                       AMAZON LOGISTICS 1NC.

      A. RESPONDEAT SUPERIOR


Plaintiff.c' Oi•iginal Petitiosz                                                                 Page 4 of 9
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15.      At all relevant times, Defendant UNKNOWN DRIVER was the agent or employee of

         Defendant AiYIAZON LOGISTICS INC. and was acting within the course and scope of

         his employment or agency. As such, AMAZON LOGISTICS INC. is vicariously liable

         for the above-referenced negligence and negligence per se of Defendant UNKNOWN

         DRIVER.

      B. NEGLIGENT ENTRUSTM[ENT

16.      On information and belief, Defendant AMAZON LOGISTICS INC. was negligent in the

         hiring and delegation of driving duties to Defendant UNKNOWN DRIVER:

         a.        by failing to exercise due diligence in the hiring and employment of UNKNOVI'N

         DRIVER, including without limitations failing to review, or negligently reviewing,

         UNK11'OWN DRIVER'S driving record;

         b.        by failing to properly monitor Defendant UNKNOWN DRIVER'S on-the job

         driving.

17.      The above acts and/or omissions were singularly and cumulatively the proximate cause of

         the occurrence in question and the resulting injuries suffered and damages sustained by

         Plaintiff.

                                  CAUSE OF ACTION AGAINST
                                  WANAAG TRANSPORT INC.

      A. RESPONDEAT SUPERIOR

18.      At all relevant times, Defendant UNKNOWN DRIVER was the agent or einployee of

         Defendant WANAAG TRAi\TSPORT INC. and were acting within the course and scope

         of his einployment or agency. As such, WANAAG TRANSPORT INC. is vicariously




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         liable for the above-referenced negligence and negligence per se of Defendants

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      B. NEGLIGENT ENTRUSTMENT

19.      On information and belief, Defendant WANAAG TRANSPORT INC. was negligent in

         the hiring and delegation of driving duties to Defendant UNKNOWN DRIVER:

         a.        by failing to exercise due diligence in the hiring and employment of UNKNOWN

         DRIVER, including without limitations failing to review, or negligently reviewing,

         UNKNOWN DRIVER'S driving record;

         b.        by failing to properly monitor Defendant UNKNOWN DRIVER'S on-the job

         driving.

20.      The above acts and/or omissions were singularly and cumulatively the proximate cause of

         the occurrence in question and the resulting injuries suffered and damages sustained by

         Plaintiff.

                                                   VI.
                                                 DAMAGES

21.      As a direct and proximate restilt ofthe collision and the negligent conduct of the Defendant,

         Plaintiff RHONDA JEAN ARMSTER AND D'AREA IGHO-OSAJIE suffered bodily

         injuries as reflected in the medical records from the health care providers that have treated

         the injuries since the collision. The injuries may be permanent in nature. The injuries have

         had an effect on the Plaintiff RHONDA JEAN ARMSTER AND D'AREA IGHO-

         OSAJIE'S health and well-being. As a further result of the nature and consequences of

         his injuries, Plaintiff RHONDA JEAN ARMSTER AND D'AREA IGHO-OSAJIE has

         suffered and may continue to suffer into the future, physical pain and mental aiiguish.




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22.      As a further result of all of the above, Plaintiff RHONDA JEAN ARMSTER AND

         D'AREA IGHO-OSAJIE has incurred expenses for her medical care and atteiition in the

         past and may incur medical expenses in the future to treat her injuries.

23.      Plaintiff RHONDA JEAN ARMSTER AND D'AREA IGHO-OSAJIE has also suffered

         losses and damages to his personal pi•operty, including but not limited to damage to her

         vehicle for which he has never been compensated.

24.      By reason of all of the above, Plaintiff has suffered losses and damages in a sum within the

         jurisdictional limits of this Court for which she now sties.

25.      Plaintiff asserts that the amount of any monetary damages awarded to Plaintiff should be

         decided by a jury of Plaintiff s peers. However, RULE 47 of the TEXAs RUt.Es OF CIVIL

         PROCEDURE        requires Plaintiff to afCrmatively plead the amount of damages souglit.

         Pursuant to RUi.E 47 of the TExAs RULEs Or C1v1L PROCEDURE, Plaintiff seeks monetary

         relief OVER TWO HUNDRED THOUSAND AND 00/100 DOLLARS ($200,000.00)

         but not more than ONE MILLION AND 00/100 DOLLARS ($1,000,000.00) and a

         demand for judgment for all the other relief to wliich Plaintiff is justly entitled at the time

         of filing this suit, which, with the passage of time, may change.

                                                    VII.
                                                 INTE~EST

26.      Plaintiff further requests both pre judgment and post judgment interest on all their damages

         as allowed by law.

                                                VIII.
                                        DEMAND FOR J URY TRIAL

27.                                   jury. Plaintiff acknowledges payment this date of the required
         Plaintiff demaiids a trial by.

         jury fee.




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                                                  X.
                                   NOTICE OF SELF-AUTfIENTICATION

28.     Pursuant to RUT.E 193.7 of the TEXAS RU'LES OF CNIL PROCEDURE, Defendant is

        hereby noticed that the production of any document in response to written discovery

        authenticates the document for use against that party in any pretrial proceeding or at trial.

                                                 XI.
                                DESIGiSATED E-SERVICE EMAIL ADDRESS

29.      The followiiig is the undersigned attorney's designated E-Service email address for all e-

        served documents and notices, filed and iinfiled, pursuant to Tex. R. Civ. P. 21(f)(2) & 21a:

         service@bushlawgrp.com. This is the undersigned's only E-Service email address, and

         service tlirough any other email address will be considered invalid.

                                                      XIII.
                                                     PRAI'ER

30.      WIiEREFORE, PREMISES CONSIDERED, Plaintiffs request that the Defendant be

         cited to appear and answer, and on final trial hereafter, the Plaintiffs have judgment against

         the Defendant in an amount within the jurisdictional limits of this Court, together with all

         pre judgment and post judgment interest as allowed by law, costs of Court, and for such

         other and further relief to which Plaintiffs may be justly entitled by law and equity,

         including, but not lirnited to:

                       1.       Pain and suffering in the past;
                       2.       Pain and suffering in the future;
                       3.       Mental anguish in the past;
                       4.       Mental anguish in the future;
                       5.       Past medical expenses;
                       6.       Future medical expenses;
                       7.       Physical impairment in the past;
                       8.       Physical impairment in the future;
                       9.       Physical disfigurement in the past;
                       10.      Physical disfigurement in the future;
                       11.      Lost wages in the past;



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                       12.      Loss of future wage-earning capacity;
                       13.      Property damage;
                       14.      Loss of use;
                       15.      Special damages, including loss of houseliold services and other
                                expenses;
                       16.      Pre judgment interest; and
                       17.      Post judgment interest.



                                                       Respectfully submitted,

                                                       BUSH & BUSH LAw GROUP

                                                       /s/CHARLES BUSH

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Smaranda Hobbs on behalf of Smaranda Hobbs
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Envelope I®: 63235258
Status as of 4/8/2022 11:35 AM CST

Case Contacts

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